
82 So. 3d 214 (2012)
DEPARTMENT OF REVENUE o/b/o Alysha M. STERLING, Appellant,
v.
Shaun O. WIGNAL, Appellee.
No. 1D11-3124.
District Court of Appeal of Florida, First District.
March 23, 2012.
Pamela Jo Bondi, Attorney General, and Toni C. Bernstein, Senior Assistant Attorney General, Tallahassee, for Appellant.
No appearance for Appellee.
PER CURIAM.
REVERSED and REMANDED. See Department of Revenue ex rel. Sherman v. Daly, 74 So. 3d 165 (Fla. 1st DCA 2011).
PADOVANO, LEWIS, and CLARK, JJ., concur.
